The Court of Common Pleas of Belmont county had jurisdiction of the parties and the subject-matter. Appeal was not prosecuted from the judgment and it may not be collaterally attacked in the present mandamus proceeding. Gavalek v.Industrial Commission, 100 Ohio St. 399, 126 N.E. 317; 23 Ohio Jurisprudence, 1146, Section 1003.
Counsel for respondents contend they are not attempting to collaterally attack the judgment of a court of competent jurisdiction in a matter over which it had jurisdiction, but are directly attacking an entry purporting to be a judgment entered by a court which had no possible claim or basis for claim of jurisdiction to make such entry. However, no authority is cited by counsel for respondents to support their position of direct attack.
Writ allowed.
WEYGANDT, C.J., WILLIAMS, MATTHIAS, HART and ZIMMERMAN, JJ., concur.
TURNER, J., dissents.
BETTMAN, J., not participating. *Page 314 